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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Ex Parle Application of Diligence Global
Business Intelligence SA, pursuant to 28 U.S.C.             Mise. Case No. M-
§ 1782 to Conduct Discovery for Use in Foreign
Proceedings

                               Petitioner,




    DECLARATION OF NICHOLAS DAY IN SUPPORT OF DILIGENCE GLOBAL
          BUSINESS INTELLIGENCE SA'S EX PARTE APPLICATION
           FOR AN ORDER TO CONDUCT DISCOVERY FOR USE IN
          FOREIGN PROCEEDINGS PURSUANT TO 28 u.s.c. § 1782

       I, NICHOLAS DAY, declare, under penalty of perjury under the laws of the United States

of America pursuant to 28 U.S.C. § 1746, that the following is true and correct:


       1.      The facts set forth herein are based on my personal knowledge, unless otherwise

       indicated. I respectfully submit this De.claration in support of DILIGENCE GLOBAL

       BUSINESS INTELLIGENCE SA (" DGBI")'s application for discovery in aid of foreign

       proceedings under 28 U.S.C. § 1782. If called as a witness, I could and would testify to

       the same as stated herein.

       2.      I am the Chief Executive Officer ofDGBI which is a Swiss company with seat at

       5 Place de la Synagogue, Geneva 1204, Switzerland.
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3.     DGBI specializes in intelligence services and private investigations. DBGI is as

such a member of the Swiss Association of Investigative and Economic Intelligence

Professionals.

4.     In January 2019, DGBI started to investigate allegations of corruption and money

laundering in connection with the 2022 World Cup in Qatar.

5.     This included an investigation into Cornerstone Global Associates LTD

("Cornerstone") a private limited company incorporated in London, United Kingdom and

its director and secretary Ghanem Mohammed Zaki Nuseibeh (" Ghanem Nuseibeh").

6.     On February 1, 2019, the New York Times published an article titled "Ahead of

Qatar World Cup, a Gulf Feud Plays Out in the Shadows," mentioning a report published

by Cornerstone in 2017. A true and correct copy of the article is attached hereto as

Exhibit 1.

7.      In the article the New York Times referred to documents it had received from an

anonymous source, claiming to be someone close to Cornerstone, which detailed

strategies employed by Cornerstone. (See Exhibit 1 at p. l ).

8.      The article also describes a ''project" by Cornerstone to pursue an agreement with

Mike Holtzman, "a prominent public relations executive [... ] to disclose damaging

information about the World Cup bid in exchange for a $1 million payment." It further

reports that Mike Holtzman made contact with Ghanem Nuseibeh, after the latter' s

interview on the BBC, "saying that he has information about irregularities related to the

Qatar FIFA bid that he is prepared to sell." (See Exhibit I at p. 2).




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9.      Paul Tweed, Cornerstone's lawyer and Ghanem Nuseibeh's co-director in other

UK companies, stated that the documents had been "misinterpreted and taken totally out

of context." (Id).

10.     The New York Times reported that Ghanem Nuseibeh and Paul Tweed met with

Mike Holtzman in New York in April or May 2018. (Id.) .

11.     Following the publication of the New York Times article, DGBI conducted online

research into public registers and databases on Cornerstone and Ghanem Nuseibeh from

its office in Geneva.

12.      In 2020, DGBI commenced a limited and proportionate surveillance directed at

the commercial activities of Ghanem Nuseibeh and Cornerstone, in accordance with

applicable laws.

13.      Cornerstone and Ghan.e m Nuseibeh discovered the investigation in September

2020.

14.      By letter dated 21 October 2020, Paul Tweed, in his capacity as a partner of

Gateley Tweed an English law firm representing Ghanem Nuseibeh and Cornerstone

alleged "that there have been serious breaches of [Ghanem Nuseibeh's] privacy and data

rights and a course of conduct amounting to harassment." A true and correct copy ofthis

letter is attached hereto as Exhibit 2.

15.      On 30 October 2020 DGBI filed a request for declaratory relief in Geneva,

Switzerland (the "Geneva Action") in the knowledge that it had conducted its

surveillance within the bounds of English Law. Attached hereto as Exhibit 3 is a true and

correct copy of the Summons to Appear in the Geneva Action.



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16.     In its application DGBI requests that the Geneva court declare that DGBI, its

organs and employees have not incurred any liability in contract, tort or otherwise to

Cornerstone and/or Ghanem N useibeh in connection with the investigation conducted in

relation to Cornerstone and/or Ghanem Nuseibeh and to find that Cornerstone and

Ghanem Nuseibeh do not have any kind of claim against DGBI, its organs and

employees.

17.     DGBI's concern proved to be justified as on 13 November 2020, Paul Tweed, still

in his capacity as a partner of Gateley Tweed an English law firm representing Ghanem

Nuseibeh and Cornerstone accused DGBI of"conducting covert surveillance" when

investigating "allegations of bribery, corruption and related money laundering." The

letter further claimed that "there is, in fact, no proper justification for [DGBI's]

surveillance activities." A true and correct copy of the letter is attached hereto as Exhibit

4.

18.      English solicitors for Cornerstone and Ghanem Nuseibeh reiterated their

allegations in a formal letter before claim dated 16 December 2020 putting DGBI on

notice that they intended to make an application for a Norwich Pharmacal order and a

request under the European General Data Protection Regulation. A true and correct copy

of the letter is attached hereto as Exhibit 5.

19.      In addition to the Geneva Action, DGBI expects that either Cornerstone or

Ghanem Nuseibeh or both will file an action against DGBI, most likely in England (the

"Potential English Action'').




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20.     To support its position in the Swiss declaratory relief proceedings and defend

itself in the Potential English Action, DGBI intends to demonstrate that its surveillance

operation in the United Kingdom as part of its investigations into money laundering and

corruption was properly founded and justified, on the basis, among other things that, as

alleged in New York Times' article, Cornerstone paid or tried to pay Michael Holtzman

USD 1 million in exchange for damaging information about the 2022 World Cup bid.

21.     To do so, DGBI intends to obtain from Michael Holtzman- who is currently the

President/Managing Partner of SECNewGate, a public relations firm based in

Washington, and the President of Bellwether Strategies, a public relations firm based in

New York, and formally the President of BLJ Worldwide in New York-oral testimony

and documentary discovery as to his and or his companies' relationship with Cornerstone,

Ghanem Nuseibeh and/or any affiliate thereof. A true and correct copy of Mike

Holtzman's Link.edln page is attached hereto as Exhibit 6.

22.      DGBI intends to use the evidence acquired from Mr. Holtzman in support of its

position in the Geneva Action and the Potential English Action.

23.      Michael Holtzman is currently domiciled at 515 Weaver St., Larchmont, New

York, 10538. A true and correct copy of whitepages.com is attached hereto as Exhibit 7.




Dated: April 16, 2021
Geneva, Switzerland




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